

People v Bevel (2018 NY Slip Op 00651)





People v Bevel


2018 NY Slip Op 00651


Decided on February 2, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 2, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CENTRA, CARNI, DEJOSEPH, AND WINSLOW, JJ.


31 KA 15-00587

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vCARLTON C. BEVEL, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






TIMOTHY P. DONAHER, PUBLIC DEFENDER, ROCHESTER (DAVID R. JUERGENS OF COUNSEL), FOR DEFENDANT-APPELLANT.
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (STEPHEN X. O'BRIEN OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Monroe County Court (Vincent M. Dinolfo, J.), rendered December 4, 2014. The judgment convicted defendant, upon his plea of guilty, of criminal possession of stolen property in the fourth degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: February 2, 2018
Mark W. Bennett
Clerk of the Court








